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                               EXHIBIT C
Case 1:14-cv-01142-GMS Document 77-3 Filed 09/28/16 Page 2 of 2 PageID #: 1340




From: Alfonso G Chan
Sent: Wednesday, September 24, 2014 5:10 PM
To: Yoon, James (JYoon@wsgr.com)
Cc: Michael Shore; Caroline Johnson
Subject: RE: Rule 408

Jim:

Attached is the term sheet Michael referred to. Also, please advise us on our October 7 meeting
location.

Sincerely,
Alfonso


From: Yoon, James
Sent: ‎9/‎24/‎2014 2:21 PM
To: Michael Shore
Subject: Re: Rule 408

Thanks Michael.

James Yoon
Wilson Sonsini Goodrich & Rosati
650 Page Mill Road
Palo Alto, CA 94304
Direct: (650) 320-4726
Cell: (650) 714-8493
Email: jyoon@wsgr.com

On Sep 24, 2014, at 12:02 PM, Michael Shore <mshore@ShoreChan.com> wrote:

James,

I should have a Term Sheet for your client to consider by tomorrow morning. It tries to address the
problems‎with‎your‎client’s‎lack‎of‎cash,‎the‎indemnity‎obligations‎your‎client‎faces‎and‎also‎some
means of tying our clients IP to Mitek for use in building their business.

Michael


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